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FILED
IN CLERKS OFFICE
UNITED STATES DISTRICT COURT 2025FEB 20 PM 1:58
U.S. DISTRICT COURT
for the DISTRICT OF MASS.

District of Massachusetts

Richard A. Cole,
Plaintiff

Civil Action No.

Vv.

Midland States Bank,
Midland States Bancorp, Inc.
Defendants

COMPLAINT

Plaintiff Richard A. Cole hereby files this Complaint against
Defendants Midland States Bank and Midland States Bancorp Inc. to
redress the damage he has suffered from both Midlands’ violations
of federal law including but not limited to violations of the
Electronic Funds Transfer Act (EFTA), 15 USC 1693 et seq as well
as related state and common law causes of action.

PARTIES
1. Plaintiff Richard A. Cole (RA Cole), age 76, is disabled,
homebound, and a resident of Essex County, Mass. residing at 32
Lake St, Amesbury, MA 01913.
2. RA Cole has been assigned any and all claims to relief from
Jonathan S. Cole (JS Cole), the son of Richard A. Cole, who also
is involved in this matter, and has suffered similar damages to

RA Cole.
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3. Assignment of causes of action is allowed under well settled
US law. Vermont Agency of Natural Resources v United States ex
rel Stevens, 529 US 765, 768, 778 (2000), Sprint Communications
Co v APCC Services Inc, 554 US 269, 271 (2008).
4. Midland States Bank is a bank located in Effingham, IL 62401.
Midland States Bank is a subsidiary of Midland States Bancorp
Inc. located at 1201 Network Centre Drive, Effingham, IL 62401.
JURISDICTION

5. This federal court has jurisdiction since the central issue
is a violation of federal law and the remedies pursuant to it.
The court also has concurrent jurisdiction of related state and
common law causes of action related to the federal law
violations.

FACTS OF THE CASE
6. RA Cole on May 18, 2023, fell backward down a flight of
twelve (12) stairs resulting in a fractured right hip, as well as
sprains and strains of ankles, knees, and shoulders, along with
broken teeth and a left eye injury. RA Cole was not able to walk
on stairs until April 2024, and continues to have constant pain
in the right hip. RA Cole relies on a walker to get about and
cannot walk for long distances. RA Cole depends on JS Cole as
his caretaker since RA Cole cannot drive and is homebound.
7. Both RA Cole and JS Cole opened personal checking accounts on

or about August 2023, with Midland States Bank (hence Midland
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Bank) based on an unsolicited email offer to open such an account
and fulfill certain requirements and receive a bonus for
maintaining such an account.
8. On March 22, 2024, a wire transfer was made into the account
of JS Cole at Midland Bank in the amount of $4,000. Midland Bank
clearly stated that the $4,000 was available. Much of this money
was to pay for medical and dental expenses of RA Cole stemming
from the injury noted above.
9. JS Cole attempted to make electronic transfers from this
account to other accounts on seven (7) occasions. In each case
Midland Bank refused to make the transfer without explanation
damaging RA Cole who was to be the ultimate recipient of the
money.
10. JS Cole and RA Cole sent 30 Day Demand Letters to Jeffrey G.
Lustig, President of Midland States Bancorp, Inc. pursuant to
Mass Gen Laws Chapter 93A demanding relief for the refusal to
make the requested transfers.
11. Both Defendants refused to offer any relief. Two (2)
dunning letters were sent in an attempt to reach a settlement.
Both Defendants refused to engage in settlement.
COUNT 1
Blocked Electronic Fund Transfers
Violation of EFTA, 15 USC 1693 et seq

12. Plaintiff hereby re-alleges and incorporates herein by
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reference each and every allegation contained in the previous
paragraphs as though fully set forth herein.
13. Both RA Cole and JS Cole were customers in good standing
with Defendants and fully expected to have requests to transfer
funds electronically to be done.
14. Defendants failed on seven (7) occasions to transfer funds
as requested without explanation or remedy.
15. RA Cole and JS Cole were both damaged by this failure to
make funds available.
16. The EFTA provides statutory damages of $100 - $1,000 for
each failure of an electronic fund transfer as well as actual
damages both of which can be trebled for bad faith as is the case
here.
17. Cole seeks $7,000 in statutory damages and trebling of same.
18. Cole seeks $10,000 in compensatory damages outlined below in
other counts including loss of use of money, emotional distress,
elder abuse, etc, and trebling of same.
19. In sum, Plaintiff Cole demands compensatory, statutory, and
treble damages for the willful and wanton violations of law by
both Defendants along with attorney fees and costs.
COUNT 2
Violations of the Mass Consumer Protection Law,
MGL c 93A, § 2(c)

20. Plaintiff hereby re-alleges and incorporates herein by
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reference each and every allegation contained in the previous
paragraphs as though fully set forth herein.
21. The Mass Consumer Protection Law which provides a remedy for
Unfair and Deceptive Business Practices considers violations of
federal law to be such unfair and deceptive practices and
provides a remedy for same.
22. %In addition, Mass has a law patterned after the EFTA which
provides the same relief as the federal statute but with a four
year statute of limitations. MGL c 167B - Electronic Branches
and Electronic Fund Transfers Act 209 CMR 31.00 et seq.
23. Cole seeks the same monetary relief under these laws as in
Count 1.
COUNT 3
Intentional Infliction of Emotional Distress
Financial Exploitation of an Elderly Person
Elder Abuse, MGL c 19A, § 14-26
24. Plaintiff hereby re-alleges and incorporates herein by
reference each and every allegation contained in the previous
paragraphs as though fully set forth herein.
25. Mass law recognizes financial exploitation of an elderly
person as a criminal charge, MGL c 265 sect 13K, but does not
provide any private civil remedy.
26. The elderly are less able to tolerate abuse especially when

they are injured and disabled as is the case herein.
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27. RA Cole was in need of considerable medical and dental work
that was not covered by insurance at the in question and relied
on the blocked funds to pay for medical and dental care which was
not done due to lack of funds.
28. The problems of continued pain from his fall, his bed to
chair existence, and his inability to get needed dental care
caused RA Cole considerable emotional distress.
29. RA Cole demands the sum of $10,000 for this needless pain
and suffering due to the refusal of both Defendants to make
electronic fund transfers as requested.
COUNT 4
Negligent Infliction of Emotional Distress
Financial Exploitation of an Elderly Person
Elder Abuse, MGL c 19A, § 14-26
30. Plaintiff hereby re-alleges and incorporates herein by
reference each and every allegation contained in the previous
paragraphs as though fully set forth herein.
31. Both Defendants caused considerable harm to RA Cole by
refusing to provide electronic fund transfers as requested
resulting in physical and emotional damage to RA Cole who was in
need of medical and dental care not covered by insurance.
32. RA Cole demands the sum of $10,000 for this needless pain
and suffering due to the refusal of both Defendants to make

electronic fund transfers as requested.
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PRAYER FOR RELIEF
Wherefore, Plaintiff Richard A. Cole, has outlined the facts and
law relevant to his causes of action, he prays to the Court for
the following relief.
1. Monetary award of statutory damages under either the EFTA or
Mass Gen Laws c 93A in the amount of $7,000.
2. Actual compensatory damages for loss of funds, financial
exploitation of an elderly person, as well as intentional or
negligent infliction of emotional distress in the amount of
$10,000.
3. Trebling of the total monetary damages of $17,000 cited above
for a total of $51,000.
4, Award of attorney fees, costs and any other relief the Court
feels is reasonable and just.
I declare under the penalty of perjury that the foregoing is true
and correct.
Respectfully submitted,

TK ACL

Richard A. Cole Dated: February 18, 2025
32 Lake St.

Amesbury, MA 01913

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email: racolemd@yahoo.com

